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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE   AND      D EADLINE INFORMATION



Civil Action No.: 2:13-cv-59
Name of party requesting extension: Implix USA, Inc.
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 02/08/2013
Number of days requested:                   ✔ 30 days
                                                 15 days
                                                 Other _____ days
New Deadline Date: 04/01/2013 (Required)


A TTORNEY FILING       APPLICATION INFORMATION




            Full Name: William E. Davis, III (Plaintiff filing for Defendant)
            State Bar No.: 24047416
            Firm Name: The Davis Firm, PC
            Address: 111 West Tyler Street
                         Longview, Texas 75601


            Phone: (903) 230-9090
            Fax: (903) 230-9661
            Email: bdavis@bdavisfirm.com
                  A certificate of conference does not need to be filed with this unopposed application.
